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                                      IN THE UNITED STATE DISTRICT COURT,
      5
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
      6

      7
          UNITED STATES OF AMERICA,                    )   Case No. CR-08-00224-OWW
      8
                                                       )
      9                  Plaintiff,                    )
                 vs.                                   )
     10                                                )
                                                       )   SEALING ORDER
     11   ROBERT C. HOLLOWAY, et. al.,
                                                       )
     12
                     Defendants.                       )
                                                       )
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     15          The report of Doctor A.A. Howsepian to be filed in this action by counsel for defendant
     16   Robert C. Holloway, and designated as an exhibit to defendant’s renewed motion to revoke
     17   detention order, is hereby placed under seal and shall not be opened except by the United States or
     18   transmitted excepted by order of this Court upon application.
     19

     20   IT IS SO ORDERED.
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     23   Date: April 14, 2009__________                       _/s/ OLIVER W WANGER__________
                                                               OLIVER W. WANGER
     24                                                        United States District Court Judge
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